 Case 1:19-cv-00227-WES-LDA Document 1-1 Filed 04/30/19 Page 1 of 51 PageID #: 9

IAZA   CT Corporation                                                          Service of Process
                                                                               Transmittal
                                                                               04/19/2019
                                                                               CT Log Number 535327874
       TO:     Stephanie Youngman
               Johnson & Johnson
               1 Johnson and Johnson Plz
               New Brunswick, NJ 08933-0002

       RE:     Process Served in Delaware

       FOR:    Johnson & Johnson Consumer Inc. (Domestic State: NJ)




       ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

       TITLE OF ACTION:                Lenel Farmer and Christopher Farmer, Pltfs. vs. Johnson & Johnson, et al., Dfts. //
                                       To: Johnson & Johnson Consumer, Inc., etc.
                                       Name discrepancy noted.
       DOCUMENT(S) SERVED:             Summons, Proof(s), Complaint, Certificate(s), Counsel
       COURT/AGENCY:                   Providence/Bristol Superior Court, RI
                                       Case # PC20193919
       NATURE OF ACTION:               Product Liability Litigation - Personal Injury - Johnson & Johnson's Baby Powder and
                                       Shower to Shower
       ON WHOM PROCESS WAS SERVED:     The Corporation Trust Company, Wilmington, DE
       DATE AND HOUR OF SERVICE:       By Certified Mail on 04/19/2019 postmarked: "Not Post Marked"
       JURISDICTION SERVED :           Delaware
       APPEARANCE OR ANSWER DUE:       Within 20 days after service, exclusive of the day of service
       ATTORNEY(S) / SENDER(S):        John E Deaton
                                       The Deaton Law Firm
                                       450 North Broadway
                                       East Providence, RI 02914
                                       401-351-6400
       ACTION ITEMS:                   CT has retained the current log, Retain Date: 04/19/2019, Expected Purge Date:
                                       04/24/2019

                                       Image SOP

                                       Email Notification, RA-JJCUS LDSOP RA-JJCUS-LDSOP@its.jnj.com
                                       Email Notification, Amy McLaren cls-ctsopsupport@wolterskluwer.com

       SIGNED:                         The Corporation Trust Company
       ADDRESS:                        1209 N Orange St
                                       Wilmington, DE 19801-1120
       TELEPHONE:                      302-658-7581




                                                                               Page 1 of 1 / MD
                                                                               Information displayed on this transmittal is for CT
                                                                               Corporation's record keeping purposes only and is provided to
                                                                               the recipient for quick reference. This information does not
                                                                               constitute a legal opinion as to the nature of action, the
                                                                               amount of damages, the answer date, or any information
                                                                               contained in the documents themselves. Recipient is
                                                                               responsible for interpreting said documents and for taking
                                                                               appropriate action. Signatures on certified mail receipts
                                                                               confirm receipt of package only, not contents.
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             STATE OF RHODE ISLAND AND                            Justice   I ndepe mlAce () II lonor   PROVIDENCE PLANTATIONS

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                                                         SUPERIOR COURT
                                                                      SUMMONS

                                                                                 Civil Action File Number
                                                                                 PC-2019-3919
Plaintiff                                                                        Attorney for the Plaintiff or the Plaintiff
Lenel Farmer                                                                     John E Deaton
   v.
   V.                                                                                             Plaintiffs Attorney or the Plaintiff
                                                                               ,Address.of the Plaintiff's
Defendant                                                                      -450 NORTHBROADWAY
                                                                               -450'NORTH-BROADWAY
Johnson & Johnson                                                               •EAST PROVIDENCE
                                                                                ,EASY   PROVIDENCE.RI        RI 02914
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Providence/Bristol County
                                                      i re                 Johnson & Johnson Consumer Companies
250 Benefit Street                                                         THE CORPORATION TRUST COMPANY
Providence RI 02903       iI                               ---".._,_,.....
                                                                  --''-'7- CORPORATION TRUST CENTER
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(401)222-3250
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                                                                           WILMINGTON, DE 19801
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This Summons was generated on 3/18/2019.                                           /s/ Henry Kinch
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                                             Witness the seal/watermark of the Superior Court




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Plaintiff                                                                                                                     Civil Action File Number
Lenel Farmer                                                                                                                  PC-2019-3919
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Johnson & Johnson

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    □ With a guardian or conservator of the Defendant.
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      Name of person and designation

    □ By delivering said papers to the attorney general or an assistant attorney general if serving the state.
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             STATE OF RHODE ISLAND                                               SUPERIOR COURT
             PROVIDENCE



             LENEL FARMER
             and CHRISTOPHER FARMER
                  Plaintiffs,

             v.                                                                  Civil Action No: -

            JOHNSON & JOHNSON; and
            JOHNSON & JOHNSON CONSUMER, INC.
            F/K/A JOHNSON & JOHNSON CONSUMER
            COMPANIES, INC.; and JOHNSON &
            JOHNSON BABY PRODUCTS, INC.; and
            IMERYS TALC AMERICA, INC. F/K/A
                                       F/KtA
            LUZENAC AMERICA, INC.

                    Defendants.


                                                       COMPLAINT

            COMES NOW Plaintiffs Lenel Farmer and Christopher Farmer, by and through their

            undersigned counsel, and for their cause of action against Defendants Johnson & Johnson,

            Johnson & Johnson Consumer Companies, Inc., Johnson & Johnson Baby Products, Inc.,
                                                                                         InC., Imerys

            Talc America, Inc., f/k/a Luzenac America, Inc. ("Defendants"),
                                                            (“Defendants”), state the following:

                                                         Parties

            1.
            1.                              (“Ms. Farmer")
                    Plaintiffs Lenel Farmer ("Ms. Farmer”) and Christopher Farmer ("Mr.
                                                                                  (“Mr. Farmer"),
                                                                                        Farmer”), are

                                                       18, and current resident of Coopersville, MI.
            competent, natural persons, older than age 18,

            2.                                                                                   “Products”)
                    Ms. Farmer regularly used articles or substances (hereinafter referred to as "Products")

            that were manufactured for sale by the Defendants to dust her perineum for feminine hygiene

                          1992 until 2001 as she was led to believe would be safe. This was an intended and
            purposes from 1992




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            foreseeable use of the Johnson & Johnson Products based on their advertising, marketing, and

            labeling.

            3.      On or around December, 2013 Ms. Farmer was diagnosed with ovarian cancer. At the

            time of her diagnosis, Ms. Farmer was thirty-nine (39) years old.

            4.      Ms. Farmer developed ovarian cancer and suffered effects attendant thereto, as a direct

            and proximate result of the unreasonably dangerous and defective nature of talcum powder and

            Defendants’ wrongful and negligent conduct in the researching, mining, milling, developing,
            Defendants'

            testing, screening, treating, storing, manufacturing, producing, processing, promoting, supplying,

            distributing, marketing, purchasing, and selling of talcum powder.

            5.      As a direct and proximate result of these injuries, Ms. Farmer has incurred medical

            expenses and endured pain, suffering and loss of enjoyment of life.

            6.      Defendant Johnson & Johnson is a New Jersey corporation with its principal place of

            business in the State of New Jersey. At all relevant times, Johnson & Johnson was engaged in the

            business of manufacturing, marketing, testing, promoting, selling, and/or distributing the

            Products. At all relevant times, Johnson & Johnson regularly transacted, solicited, and conducted

            business in the State of Rhode Island, including the marketing, promoting, selling, and/or

            distributing of the Products.

            7.     Defendant Johnson & Johnson Consumer Companies, Inc. is a New Jersey corporation

            with its principal place of business in the State of New Jersey. At all relevant times, Johnson &

            Johnson Consumer Companies, Inc. was engaged in the business of manufacturing, marketing,

            testing, promoting, selling, and/or distributing the Products. At all relevant times, Johnson &

            Johnson Consumer Companies, Inc. regularly transacted, solicited, and conducted business in the




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            State of Rhode Island, including the marketing, promoting, selling, and/or distributing of the

            Products.

            8.      Defendants Johnson & Johnson and Johnson & Johnson Consumer Companies, Inc. have,

            at all relevant times, conducted continuous and systematic business in the State of Rhode Island

            and placed the Products in the stream of commerce with the knowledge and intent that these

            Products be sold in the State of Rhode Island, and be consumed by Rhode Island citizens and

            residents.

            9.      At all relevant times, Defendant Johnson & Johnson Consumer Companies, Inc. has been

            a wholly-owned subsidiary of Defendant Johnson & Johnson.

            10.
            10.    Defendant Johnson & Johnson Baby Products, Inc. is a Delaware corporation with its

            principal place of business in the State of New Jersey.

            11.
            11.    At all relevant times, JOHNSON & JOHNSON BABY PRODUCTS, INC. (hereinafter

            described as "J&J
                         “J&J Baby Products"),
                                   Products”), has been a wholly owned subsidiary of JOHNSON &

            JOHNSON, and has been directed by its parent company to manufacture, market, test, promote,

            sell, and/or distribute the Products. At all relevant times, J&J Baby Products was under the

            complete dominion of and control of Defendant Johnson & Johnson, and the agent and alter ego

            of Defendant Johnson & Johnson. Hereinafter, unless otherwise delineated, these three entities

            shall be collectively referred to as the "Johnson & Johnson Defendants."

            12.
            12.    At relevant times, members of Johnson & Johnson Defendants maintained an office at

           1300 Highland Corporate Drive, Woonsocket, RI.
           1300

           13.
           13.     Defendant Imerys Talc America, Inc., f/k/a Luzenac America, Inc. ("Imerys Talc"), is a

           Delaware corporation with its principal place of business in the State of California. At all

           relevant times, Imerys Talc has maintained a registered agent in the State of Rhode Island. At all




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            relevant times, Imerys Talc has been in the business of mining and distributing talcum powder

            for use in talcum-powder-based Products, including the Products. Imerys Talc created Luzenac

            America, Inc., and retains legal responsibility for all liabilities incurred when it was known as

            Luzenac America, Inc.

                                                  Jurisdiction and Venue


            14.
            14.      This Court has subject matter jurisdiction, pursuant to R.I. Gen. Laws § 8-2-14, because
                     This.

            the amount in controversy exceeds ten thousand dollars ($10,000), exclusive of interests and

            costs.

            15.
            15.      This Court has personal jurisdiction over the Defendants, pursuant to R.I. Gen. Laws § 9-

            5-33(a), as a foreign corporation with sufficient minimal contact with the state. At all times

            relevant hereto, Defendants were in the business of researching, designing, formulating,

            compounding, testing, manufacturing, producing, processing, assembling, inspecting,

                                                                                                 Johnson’s
            distributing, marketing, labeling, promoting, packaging and/or advertising Johnson & Johnson's

            Baby Powder and Shower to Shower Products.

            16.
            16.      At all times relevant hereto, Defendants had offices in Rhode Island and/or regularly

            solicited and transacted business in Rhode Island and Providence County. In addition, the

            Defendants reasonably expected that its Baby Powder and Shower to Shower Products would be

            used or consumed in Rhode Island and Providence County.

            17.
            17.      Jurisdiction is proper as to the Johnson & Johnson Defendants because Johnson &

            Johnson Consumer Inc. consented to jurisdiction in the State of Rhode Island by registering to do

            business in the State of Rhode Island. Johnson & Johnson maintains continuous, purposeful, and

           systematic contacts in the State of Rhode Island, including, but not limited to, the sale of talc




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            Products to consumers in the State of Rhode Island and maintaining offices in Providence

            County, Rhode Island.

            18.
            18.     Currently, Johnson & Johnson has 106
                                                     106 open job positions in Cumberland and Providence,

            RI, alone.'
                alone.1 Along with varies upper-management level employees in Rhode Island.2

            19.
            19.     Jurisdiction is proper as to Imerys Talc because 1)
                                                                     1) Imerys Talc consented to jurisdiction

            in the State of Rhode Island by registering to do business in the State of Rhode Island; 2) it is

            reasonable and foreseeable Imerys Talc's
                                              Talc’s dangerous talc -
                                                                    — contained in the Products - would be

            and were sold to consumers in Providence County, Rhode Island; and 3) Imerys Talc maintains

            continuous, purposeful, and systematic contacts in the State of Rhode Island, including, but not

            limited to, the sale of Products containing Imerys Talc's
                                                               Talc’s talcum powder.

            20.    Pursuant to 9 R.I. Gen. Laws § 9-4-3, venue is proper against all Defendants if the action

            is brought against one Defendant that is found in the division or county in which the action was

            filed. In this case, Plaintiffs'
                                 Plaintiffs’ action is brought against multiple Defendants that are found within

            this county.

            21.    Venue is proper in this Court as, at all relevant times, Defendants conducted business in

            Providence County, Rhode Island, and tested, manufactured, labeled, licensed, marketed,

            distributed, promoted and/or sold the Products in the State of Rhode Island.


                                                               Facts

            22.     Talc, an inorganic mineral and magnesium trisilicate, is mined from the earth. Imerys

            Talc mined the talc contained in the Products.




            '1 Reviewed Glassdoor website on.
                                          on March 2,
                                                   2,2017,  https://www.glassdoor.com/Jobs/Johnson-and-Johnson-
                                                      2017, https://www.glassdoor.comnobs/Johnson-and-Johnson-
            Cumberland-Jobs-EI_IE364.0,19_IL:20,30_lC1151254.htm
            Cumberland-Jobs-E1_IE364.0,19_IL.20,30_1C1151254.htm
           22 Reviewed Wizbii website on March 2,
                                                2,2017, https://en.wizbii.com/company/johnson-amp-johnson/job/shopper-
                                                  2017, https://en.wizbii.com/company/johnson-amp Johnson/job/shopper-
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             23.    Talc is the main substance in talcum powders. The Johnson & Johnson Defendants

             manufactured the Products. The Products are composed almost entirely of talc.

             24.    At all relevant times, a feasible alternative to the Products has existed. Cornstarch is an

             organic carbohydrate that is quickly broken down by the body with no known health effects.

            Cornstarch powders have been sold and marketed for the same uses with nearly the same

            effectiveness.

            25.     Imerys Talc has continually advertised and marketed talc as safe for human use.

            26.     Imerys Talc supplies customers with material safety data sheets for talc. These material

            safety data sheets are supposed to convey adequate health and safety warning information to its

            customers.

            27.     Historically, "Johnson & Johnson's
                                             Johnson’s Baby Powder" has been a symbol of freshness,

            cleanliness, and purity. During the time in question, the Johnson & Johnson Defendants

            advertised and marketed this product as the beacon of "freshness" and "comfort," eliminating

            friction on the skin, absorbing "excess wetness" helping to keep skin feeling dry and

            comfortable, and "clinically proven gentle and mild."
                                                           mild.” The Johnson & Johnson Defendants

            compelled women through advertisements to dust themselves with this product to mask odors.

            The bottle of "Johnson's Baby Powder" specifically targets women by stating, "For you, use

            every day to help feel soft, fresh, and comfortable."

            28.     During the time in question, the Johnson & Johnson Defendants advertised and marketed

            the Shower to Shower product as safe for use by women as evidenced in its slogan, "A sprinkle a

            day keeps odor away," and through advertisements such as, "Your body perspires in more places

            than just under your arms. Use SHOWER to SHOWER to feel dry, fresh, and comfortable

            throughout the day." And "SHOWER to SHOWER can be used all over your body."




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             29.     In a recent press release, Johnson & Johnson announced that it would be opening a health

             technology center in Providence County, Rhode Island, filling about 75 jobs. The Center will

                                                                                  Johnson’s Vice
             create software applications for healthcare.3 Steve Wrenn, Johnson & Johnson's

             President/Chief Applications Officer, represented Johnson & Johnson during the press release.

             30.    Ms. Farmer used the Products to dust her perineum for feminine hygiene purposes for

             over fifty (50) years. In September, 2000, Ms. Farmer was diagnosed with ovarian cancer.

            31.         Farmer’s use of the Products on her perineal area was the intended and foreseeable
                    Ms. Farmer's

            use of the Products based on the advertising, marketing, and labeling of the Products.

            32.        1971, the first study was conducted that suggested an association between talc and
                    In 1971,

            ovarian cancer. This study was conducted by Dr. WJ Henderson and others in Cardiff, Wales.

            33.        1982, the first epidemiologic study was performed on talcum powder use in the female
                    In 1982,

            genital area. This study was conducted by Dr. Daniel Cramer and others. This study found a 92

            percent increased risk in ovarian cancer with women who reported genital talc use. Shortly after

            this study was published, Dr. Bruce Semple, of Johnson & Johnson, visited and met with Dr.

            Cramer about his study. Dr. Cramer advised Dr. Semple that Johnson & Johnson should place a

            warning on its talcum powders about the ovarian cancer risks, so that women can make informed

            decisions about their health.

            34.           1982, there have been about twenty-two (22) additional epidemiologic studies
                    Since 1982,

            providing data on the association of talc and ovarian cancer. Nearly all of these studies have

            reported an elevated risk for ovarian cancer associated with genital talc use in women.




            33 December 19,
                        19,2016                 http://www.providencejourrial.com/news/20161219/johnson--johnson-to-open-
                            2016 press release, http://www.providencejoumal.cominews/20161219/johnson—johnson-to-open-
            technology-center-in-providence-add-75-jobs


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            35.        1993, the United States National Toxicology Program published a study on the toxicity
                    In 1993,

            of non-asbestiform talc and found clear evidence of carcinogenic activity. Talc was found to be a

            carcinogen, with or without the presence of asbestos-like fibers.

            36.     In response to the United States National Toxicology Program's study, the Cosmetic

            Toiletry and Fragrancy Association (CTFA) formed the Talc Interested Party Task Force

            (TIPTF). The Johnson & Johnson Defendants and Imerys Talc were members of the CTFA and

            the primary actors and contributors of the TIPTF. The stated purpose of the TIPTF was to pool

            financial resources of these companies in an effort to collectively defend talc use at all costs and

            to prevent regulation of any type within this industry. The TIPTF hired scientists to perform

            biased research regarding the safety of talc. Members of the TIPTF edited scientific reports of

            the scientists hired by this group before the submission of these scientific reports to

            governmental agencies. Members of the TIPTF knowingly released false information about the

            safety of talc to the consuming public and used political and economic influence on regulatory

            bodies regarding talc. All of these activities have been well coordinated and planned by these

            companies and organizations over the past four (4) decades in an effort to prevent regulation of

            talc and to create confusion to the consuming public about the true hazards of talc related to

            ovarian cancer.

            37.                 10, 1994,
                    On November 10, 1994, the Cancer Prevention Coalition mailed a letter to then-Johnson

                                                                                                  1960s,
            & Johnson C.E.O, Ralph Larson, informing his company that studies, as far back as the 1960s,

                 “conclusively that the frequent use of talcum powder in the genital area poses a serious
            show "conclusively

            health risk of ovarian cancer." The letter cited a recent study by Dr. Bernard Harlow from

            Harvard Medical School confirming this fact and quoted a portion of the study wherein Dr.

            Harlow and his colleagues discouraged the use of talc in the female genital area. The letter




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             further stated that, each year, fourteen thousand (14,000) women die from ovarian cancer and

            that this type of cancer is very difficult to detect and has a low survival rate. The letter concluded

            by requesting that Johnson & Johnson withdraw talc Products from the market because of the

            alternative of cornstarch powders or, at a minimum, place warning information on its talc-based

            body powders about ovarian cancer risk they pose.

            38.     In 1996,
                       1996, the condom industry stopped dusting condoms with talc due to the health

            concerns of ovarian cancer.

            39.     In February of 2006, the International Association for the Research of Cancer (IARC)

            part of the World Health Organization published a paper whereby they classified perineal use of

            talc-based body powder as a "Group 2B" human carcinogen. IARC, which is universally

            accepted as the international authority on cancer issues, concluded that studies from around the

            world consistently found an increased risk in ovarian cancer in women from perineal use of talc.

            IARC found that sixteen 16
                                    16 percent to 52 percent of women in the world used talc to dust their

            perineum and found an increased risk, of ovarian cancer in women talc users, ranging from 30

            percent to 60 percent. IARC concluded with this "Evaluation:" "There is limited evidence in

            humans for the carcinogenicity of perineal use of talc-based body powder." By definition,

            "limited
            “limited evidence of carcinogenicity" means "a positive association has been observed between

            exposure to the agent and cancer for which a causal interpretation is considered by the Working

            Group to be credible, but chance, bias or confounding could not be ruled out with reasonable

            confidence."

            40.    In about 2006, the Canadian government, through The Hazardous Products Act and

            associated Controlled Products Regulations, classified talc as a "D2A,"
                                                                             "D2A,” "very toxic,"
                                                                                          toxic, ii "cancer
                                                                                                    ii
                                                                                                       cancer




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             causing" substance under its Workplace Hazardous Materials Information System (WHMIS).

             Asbestos is also classified as "D2A".

             41.     In 2006, Imerys Talc began placing a warning on the Material Safety Data Sheets

             (MSDS) it provided to the Johnson & Johnson Defendants regarding the talc it sold to them to be

             used in the Products. These MSDS not only provided the warning information about the IARC

             classification, but also included warning information regarding "States Rights to Know" and

             warning information about the Canadian Government's "D2A" classification of talc.

             42.                                                          “Petition Seeking a Cancer
                     In 2008, the Cancer Prevention Coalition submitted a "Petition

                                      Products” to the FDA. The petition requested that the FDA
             Warning on Cosmetic Talc Products"

             immediately require cosmetic talcum powder Products to bear labels with a prominent warning

            that frequent talc application in the female genital area is responsible for major risks of ovarian

            cancer.44
            cancer.

             43.     In 2013, Cancer Prevention Research published a study that showed that women who

            used talcum powder in their groin area had a 20 to 30 percent greater risk of developing ovarian

            cancer than women who did not use talc Products in that area.5

            44.      Presently, the National Cancer Institute6 and the American Cancer Society7 list genital

                          “risk factor"
            talc use as a "risk factor” for ovarian cancer.




            4 Cancer Prevention Coalition "Petition                                                    Products” submitted
                                          “Petition Seeking a Cancer Warning on Cosmetic Talc Products Products"
            to the FDA on May 13,  2008, http://www.organicconsumers.org/articles/article 12517.cfm
                                13,2008,                                                  12517.cfm

            55 "Genital
               «
                 Genital powder use and risk of ovarian cancer: a pooled analysis of 8,525 cases and 9,859 controls,"
                                                                                                           controls,” Cancer
            Prevention Research, June 2013, http://cancerpreventionresearch.aacriournals.org/content/earlv/2013/06/12/1940-
                                               http://cancerpreventionresearch.aacrioumals.org/content/earlv/2013/06/12/1940-
            6207.CAPR-13-0037.short.
            6 National Cancer Institute, Ovarian Cancer Prevention,
             http://www.cancer.gov/cancertopics/pdq/prevention/ovarian/Patient/page3
             7 American Cancer Society, Risk Factors for Ovarian Cancer,
             http://www.cancer.org/cancer/ovariancancer/detailedgiiide/ovarian-cancer-risk-factors
             http://m,vw.cancer.orgicancer/ovariancancer/detai  ledgu i de/ovarian-cancer-risk-factors


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             45.    The Gilda Radner Familial Ovarian Cancer Registry, Roswell Park Center Institute, and

             the Department of Gynecologic Oncology University of Vermont publish a pamphlet entitled,

             “Myths & Facts about ovarian cancer: What you need to know.”
             "Myths                                                                           “Use of Talc
                                                                   know." This pamphlet lists "Use

             (Baby Powder) in the Genital Area"
                                          Area” as a "known"
                                                     “known” risk factor for ovarian cancer.8

             46.    The Defendants had a duty to know and warn about the hazards associated with the use of

            the Products.

            47.     The Defendants failed to inform its customers and end users of the Products of a known,

            catastrophic health hazard associated with the use of its Products.

            48.     In addition, the Defendants procured and disseminated false, misleading, and biased

            information to the public regarding the safety of its Products and used influence over

            governmental and regulatory used influence over governmental and regulatory agencies to

            actively misinform the public.

            49.     As a direct and proximate result of the Defendants' calculated and reprehensible conduct,

            Ms. Farmer developed ovarian cancer, which required surgeries and treatments, and was

            otherwise injured in a personal and pecuniary nature.

                                   FEDERAL STANDARDS AND REQUIREMENTS

            50.     Plaintiffs hereby incorporate the above paragraphs as if fully set forth herein.

            51.     At all relevant times, Defendants had the obligation to comply with federal standards and

            regulations in the manufacturing, design, marketing, branding, labeling, distributing, and selling

            of the Products.




            88 Myths and Facts About Ovarian Cancer,
             http://imaRing.dbrnmedica.comicancernetwork/forpatients/pdfs/7
             http://imaging.ubmmedica.eom/cancemetwork/forDatients/pdfs/7 M&F%200varian%20Cancer.odf.
                                                                            M&F%20Qvarian%20Cancer.pdf.




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             52.     Defendants, each individually, in solido, and/or jointly, violated the Federal Food, Drug

             and Cosmetic Act, 21 U.S.C. §301, et
                                               etseq.
                                                  seq.

             53.    Defendants have or may have failed to comply with federal standards and requirements

             governing the manufacturing, designing, marketing, branding, and selling of the Products

             including, but not limited to, the following violations of sections and subsections of the United

             States Code and the Code of Federal Regulations:


                    a.      The Products are misbranded in violation of 21 U.S.C. § 362 because, among

                            other things, its labeling is false or misleading.

                    b.      The Products are misbranded in violation 21 U.S.C. § 362 because words,

                            statements, or other information required by or under authority of 21 U.S.C. § 362

                            are not prominently placed thereon with such conspicuousness and in such terms

                            as to render this information likely to be read and understood by the ordinary

                            person under customary conditions of purchase and use.

                    c.      The Products are misbranded in violation of 21 C.F.R. § 701.1 because these

                            Products contain false or misleading representations that they are safe for daily

                            application to all parts of the female body.

                    d.      Violating 21 C.F.R. § 740.1, the Products do not bear a warning statement to

                            prevent a health hazard that may be associated with the Products, namely that the

                            Products may cause ovarian cancer or a heightened risk of ovarian cancer when

                            applied to the perineal area.

                    e.      The Products do not prominently and conspicuously bear a warning statement, in

                            violation of 21 C.F.R. § 740.2, as to the risk of ovarian cancer caused by the use

                            of the Products when applied to the perineal area, in such terms and design that it



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                              is likely to be read and understood by the ordinary person under customary

                              conditions of purchase and use.

                      f.      The Products, in violation of 21 C.F.R. § 740.10, do not conspicuously state on

                              the Products'
                                  Products’ principal display panel that the safety of the Products have not been

                                                                       Products’ principal ingredients have not
                              determined and/or that the safety of the Products'

                              been determined.

             54.      The Products are adulterated, in violation of 21 U.S.C. § 361, because, among other

            things, the Products contain a poisonous or deleterious substance which may render them

            injurious to users under the conditions of use prescribed in the labeling thereof, or under such

            conditions of use as are customary or usual.

                                                           COUNTII
                                                           COUNT
                                            Strict Liability For Failure To Warn
                                                      (All Defendants)

            55.       Plaintiffs incorporate by reference each of the preceding paragraphs as if fully set forth

            herein.

            56.       At all relevant times, Imerys Talc mined and sold talc, to the Johnson & Johnson

            Defendants, which it knew Johnson & Johnson was then packaging and selling to consumers as

            the Products and it knew that consumers of the Products were using it to powder their perineal

            regions.

            57.       At all relevant times, Imerys Talc knew and/or should have known of the unreasonably

            dangerous and carcinogenic nature, especially when used in a woman's perineal regions, of the

            talc it was selling to the Johnson & Johnson Defendants, and it knew or should have known that

            Johnson & Johnson was not warning its consumers of this danger.




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             58.    At all relevant times, the Johnson & Johnson Defendants were manufacturing, marketing,

            testing, promoting, selling and/or distributing the Products in the regular course of business.

             59.    At all relevant times, Ms. Farmer used the Products to powder her perineal area, which is

            a reasonably foreseeable use.

            60.     At all relevant times, all the Defendants in this action knew or should have known that

            the use of talcum powder-based Products in the perineal area significantly increases the risk of

                                                                           1971.
            ovarian cancer, based upon scientific knowledge dating back to 1971.

            61.     At all relevant times, including the time of sale and consumption, the Products, when put

            to the aforementioned reasonably foreseeable use, were in an unreasonably dangerous and

            defective condition because these Products failed to contain adequate warnings and/or

            instructions regarding the increased risk of ovarian cancer associated with the use of the Products

            by women to powder their perineal area.

            62.             Farmer received a warning that using the Products would have significantly
                    Had Ms. Fanner

            increased her risk of ovarian cancer, she would not have used such Products.

            63.                ’s development of ovarian cancer was the direct and proximate result of the
                    Ms. Farmer 's

            unreasonably dangerous and defective condition of the Products, including the lack of warnings,

            at the time of sale and consumption; and Plaintiff was caused to incur medical bills, lost wages,

            and conscious pain and suffering.

            64.     Given the above, it is reasonable and foreseeable that all Defendants would be hauled

            into court in the State of Rhode Island.

            65.     Wherefore, Plaintiffs demand judgment againgt
                                                          against Imerys Talc and the Johnson & Johnson

            Defendants in a fair and reasonable sum to confer jurisdiction upon this Court together with




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             interest on that amount at the legal rate from the date of judgement until paid, for court costs and

             such further and other relief as the Court deems just and appropriate.

                                                       COUNT H  II
                                                     Strict Liability
                                        Manufacturing Defect and Design Defect
                                        (Against Johnson & Johnson Defendants)

             66.    Plaintiffs incorporate by reference all other paragraphs in this Complaint as if set forth

             fully herein.

             67.    At all relevant times, the Johnson & Johnson Defendants were engaged in the business of

             manufacturing, formulating, creating, designing, testing, labeling, packaging, supplying,

             marketing, promoting, selling, advertising, and otherwise introducing the Products into the

            stream of interstate commerce, including the State of Rhode Island, which they sold and

            distributed throughout the United States and in Providence County, Rhode Island.

            68.     At all relevant times, the Products were expected to and did reach Ms. Farmer without a

            substantial change in condition.

            69.     At all relevant times, the Products were defectively and improperly manufactured and

            designed by the Johnson & Johnson Defendants in that, when the Products left the hands of the

            Johnson & Johnson Defendants, the foreseeable risks of the Products far outweighed the benefits

            associated with their design and formulation.

            70.     At all relevant times, the Products were defectively manufactured and designed by the

                                                     Products’ design and formulation is more dangerous
            Johnson & Johnson Defendants in that the Products'

            than an ordinary consumer would expect when used in an intended and reasonably foreseeable

            manner.




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             71.    At all relevant times, the Products created significant risks to the health and safety of

             consumers that far outweigh the risks posed by other Products on the market used for the same

             therapeutic purpose.

             72.    At all relevant times, a reasonable and safer alternative design existed, which could have

             feasibly been employed by the Johnson & Johnson Defendants to manufacture a product with the

            same therapeutic purpose as the Products. Despite knowledge of this reasonable and safer

                                    Johnson & Johnson Defendants failed to alter the Products'
            alternative design, the .Tohnson                                         Products’ design and

            formulation. The magnitude of the danger created by the Products far outweighs the costs

            associated with using an alternative, safer design.

            73.     As a direct and proximate result of the defective design and manufacture of the Products,

            Ms. Farmer developed ovarian cancer and has been injured catastrophically and has been caused

            severe and permanent pain, suffering, disability, impairment, loss of enjoyment of life, and losses

            of care, comfort, and economic damages.

            74.     Given the above, and given the Johnson & Johnson Defendants'
                                                                     Defendants’ significant contacts with

            the State of Rhode Island, it is reasonable and foreseeable that the Johnson & Johnson

            Defendants would be hauled into court in the State of Rhode Island.

            75.     Wherefore, Plaintiffs demand judgment against the Johnson & Johnson Defendants in a

            fair and reasonable sum to confer jurisdiction upon this Court together with interest on that

            amount at the legal rate from the date of judgement until paid, for court costs and such further

            and other relief as the Court deems just and appropriate.

                                                      COUNT III
                                                    Strict Liability
                                        Design Defect and Manufacturing Defect
                                                (Against Imerys Talc)




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             76.     Plaintiff incorporate by reference all other paragraphs in this Complaint as if set forth

             fully herein.

             77.                                     Imeiys Talc was engaged in the business of mining and
                    At all relevant times, Defendant Imerys

             distributing talc to Johnson & Johnson Defendants for use in the Products, and Imerys was

             knowingly an integral part of the overall manufacture, design, and production of the Products

            and the introduction of such Products into the stream of interstate commerce, including the State

            of Rhode Island.

            78.                                                                            Farmer without a
                    At all relevant times, the Products were expected to and did reach Ms. Fanner

            substantial change in their condition.

            79.                                         Were defectively and improperly manufactured and
                    At all relevant times, the Products were

            designed by Imerys Talc in that, when Imerys Talc supplied its talc product to Johnson &

            Johnson with full knowledge that Johnson & Johnson would use its talc in formulating the

            Products and that the talc would be the primary ingredient in the Products, the foreseeable risks

                                                                            Products’ design and formulation.
            of the Products far outweighed the benefits associated with the Products'

            80.     At all relevant times, the Products were defectively manufactured and designed by

            Imerys Talc in that design and formulation of the Products is more dangerous than an ordinary

            consumer would expect when used in an intended and reasonably foreseeable manner.

            81.     At all relevant times, the Products created significant risks to the health and safety of

            consumers that far outweigh the risks posed by other Products on the market used for the same

            therapeutic purpose.

            82.     As a direct and proximate result of the defective design and manufacture of the Products,

            Ms. Farmer developed ovarian cancer, was injured catastrophically, and was caused severe and




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             permanent pain, suffering, disability,
                                        disability* impairment, loss of enjoyment of life and losses of care,

             comfort, and economic damages.

             83.    Given the above, and given that Imerys Talc's
                                                           Talc’s dangerous talc-containing Products were

             regularly sold to consumers in the State of Rhode Island, it is reasonable and foreseeable that

             Imerys Talc would be hauled into court in the State of Rhode Island.

             84.    Wherefore, Plaintiffs demand judgment against Imerys Talc in a fair and reasonable sum

                Confer jurisdiction upon this Court together with interest on that amount at the legal rate from
             to confer

            the date of judgement until paid, for court costs and such further and other relief as the Court

            deems just and appropriate.

                                                        COUNT IV
                                                         Negligence
                                                       (Imerys Talc)

            85.     Plaintiffs incorporate by reference all other paragraphs in this Complaint as if set forth

                  herein;
            fully herein.

            86.     At all relevant times, Imerys Talc had a duty to exercise reasonable care to consumers,

            including Ms. Farmer, in the design, development, manufacture, testing, inspection, packaging,

            promotion, marketing, distribution, labeling and/or sale of the Products, including the Products

            sold to consumers in the State of Rhode Island.

            87.     At all relevant times, Imerys Talc mined and sold talc to the Johnson & Johnson

            Defendants, which it knew was then being packaged and sold to consumers as the Products by

            the Johnson and Johnson Defendants. Further, Imerys Talc knew that consumers of the Products

            were using it to powder their perineal regions.




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             88.     At all relevant times, Imerys Talc knew or should have known, based upon scientific

                                      1971, that the use of the Products in the perineal area significantly
             knowledge dating back to 1971,

             increases the risk of ovarian cancer.

             89.     At all relevant times, Imerys Talc knew that Johnson & Johnson Defendants were not

             providing consumers with warnings regarding its Products and the risk of ovarian cancer posed

             by talc contained therein.

             90.     At all relevant times, Imerys Talc was negligent in providing talc to the Johnson &

             Johnson Defendants. Imerys Talc possessed information on the carcinogenic properties of talc,

             including its risk of causing ovarian cancer. Imerys Talc was negligent because it knew that the

             talc it provided to Johnson & Johnson Defendants would be used in the Products, but they did

             not adequately take steps to ensure that ultimate consumers of the Products, including Ms.

             Farmer, received the information that Imerys Talc possessed on the carcinogenic properties of

             talc.

             91.     As a direct and proximate result of Imerys Talc's
                                                                Talc’s negligence, Ms. Farmer developed

             ovarian cancer, and thus has been injured catastrophically and been caused severe and permanent

             pain, suffering, disability, impairment, loss of enjoyment of life, and losses of care, comfort, and

             economic damages.

             92.                                            Talc’s dangerous talc-containing Products were
                     Given the above, and given that Imerys Talc's

             regularly sold to consumers in the State of Rhode Island, it is reasonable and foreseeable that

             Imerys Talc would be hauled into court in the State of Rhode Island.

             93.     Wherefore, Plaintiffs demand judgment against Imerys Talc in a fair and reasonable sum

             to confer jurisdiction upon this Court together with interest on that amount at the legal rate from




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             the date of judgement until paid, for cburt
                                                   court costs and such further and other relief as the Court

             deems just and appropriate.

                                                        COUNTY
                                                        COUNT   V
                                                        Negligence
                                              (Johnson & Johnson Defendants)

            94.       Plaintiffs incorporate by reference each of the preceding paragraphs as if fully set forth

            herein.

            95.       The Johnson & Johnson Defendants were negligent in marketing, designing,

            manufacturing, producing, supplying, inspecting, testing, selling and/or distributing the Products

            in one or more of the following respects:


                      a.                                                             With the use of the
                             In failing to warn Ms. Farmer of the hazards associated with
                             Products;

                      b.     In failing to properly test its Products to determine adequacy and effectiveness or
                             safety measures, if any, before releasing the Products for consumer use;

                      c.     In failing to properly test its Products to determine the increased risk of ovarian
                             cancer during the normal and/or intended use of the Products;

                      d.     In failing to inform ultimate users, such as Ms. Farmer, as to the safe and proper
                             methods of handling and using the Products;

                      e.     In failing to remove the Products from the market when the Defendants knew or
                             should have known the Products were defective;

                      f.     In failing to instruct the ultimate users, such as Ms. Farmer, as to the methods for
                             reducing the type of exposure to the Products which caused increased risk in
                             ovarian cancer;

                      g.
                      g-     In failing to inform the public in general, and Ms. Farmer in particular, of the
                             known dangers of using the Products for dusting the perineum;

                      h.     In failing to advise users how to prevent or reduce exposure that caused increase
                             risk for ovarian cancer;

                      i.
                      i.                                             safe for all uses despite knowledge to the
                             Marketing and labeling the Products as 'safe
                             contrary; and



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                    J.
                    J-      In failing to act as a reasonably prudent company would given similar
                            circumstances.


             96.    At all relevant times, the Johnson & Johnson Defendants knew or should have known

             that the Products were unreasonably dangerous and defective when put to their reasonably

            anticipated use.

            97.     As a direct and proximate result of the Johnson & Johnson Defendants' negligence in one

            or more of the aforementioned ways, Ms. Farmer purchased and used, as aforesaid, the Products

            that directly and proximately caused her to develop ovarian cancer; and Ms. Farmer was caused

            to incur medical bills, lost wages, and conscious pain and suffering.

            98.     Wherefore, Plaintiffs demand judgment against the Johnson and Johnson Defendants in

            a fair and reasonable sum to confer jurisdiction upon this Court together with interest on that

            amount at the legal rate from the date of judgement until paid, for court costs and such further

            and other relief as the Court deems just and appropriate.

                                                      COUNT VI
                                              Breach of Express Warranty
                                            (Johnson & Johnson Defendants)

            99.     Plaintiffs incorporate by reference all other paragraphs in this Complaint as if set forth

            fully herein.

            100.
            100.    At all relevant times, the Johnson & Johnson Defendants knew or should have known

            that the Products were unreasonably dangerous and defective when put to their reasonably

            anticipated use.

            101.
            101.    At all relevant times, the Johnson & Johnson Defendants expressly warranted, through

            direct-to-consumer marketing, advertisements, and labels, that the Products were safe and

            effective for reasonably anticipated uses, including use by women in their perineal area.




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             Although the label has changed over time, the message has been the same: that the product is

             safe for use on women as well as babies. At least as of 2014, the baby powder label stated that

             “Johnson’s® Baby Powder is designed to gently absorb excess moisture helping skin feel
             "Johnson's®

             comfortable. Our incredibly soft, hypoallergenic, dermatologist and allergy-tested formula

             glides over skin to leave it feeling delicately soft and dry while providing soothing relief."
                                                                                                   relief.” The

             Johnson & Johnson Defendants instruct consumers on the product labeling to "Shake
                                                                                        “Shake powder

            directly into your hand, away from the face, before smoothing onto'the
                                                                          onto the skin."
                                                                                   skin.”

            102.
            102.    Through other marketing, including on their website for Johnson's®
                                                                            Johnson’s® Baby Powder,,
                                                                                            Powder,

            Defendants similarly encouraged women to use the product daily. Defendants state that

            Johnson's@
            Johnson’s® Baby Powder "keeps
                                   “keeps skin feeling soft, fresh and comfortable. It's
                                                                                    It’s a classic.

            Johnson's®
            Johnson’s® Baby Powder helps eliminate friction while keeping skin cool and comfortable. It's
                                                                                                     It’s

            made of millions of tiny slippery plates that glide over each other to help reduce the irritation

            caused by friction."
                      friction.” Under a heading "How
                                                 “How to Use,"
                                                         Use,” the Johnson & Johnson Defendants

            recommend that, "For
                            “For skin that feels soft, fresh and comfortable, apply Johnson's®
                                                                                    Johnson’s® Baby

            Powder close to the body, away from the face. Shake powder into your hand and smooth onto

            skin."
            skin.” Under a heading "When
                                   “When to Use,"
                                            Use,” the Johnson & Johnson Defendants recommend that the

            consumer "Use
                     “Use anytime you want skin to feel soft, fresh and comfortable. For baby, use after

            every bath and diaper change."
                                  change.” On their website for Johnson's®
                                                                Johnson’s® Baby Powder, Defendants also

            state the product is "Clinically
                                 “Clinically proven to be safe, gentle and mild."
                                                                           mild.”

            103.
            103.                        in February or March of 2016, after a St. Louis Jury rendered a $72
                    Even more recently, in.

            million-dollar verdict against Johnson & Johnson, including punitive damages, Johnson &

            Johnson published a web page directed at consumers misleadingly assuring them of the safety of

            talc titled "Our               Commitment” and touted the safety of talc, stating, inter alia:
                        “Our Safety & Care Commitment"




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             a.     "Decades
                    “Decades of Safety: Our confidence in using talc reflects more than 30
                    years of research by independent scientists, review boards and global
                    authorities, which have concluded that talc can be used safely in personal
                    care Products. Various government agencies and other bodies also have
                    examined talc to determine the potential for any safety risks, and none
                    have concluded that there are safety risks. In fact, no regulatory agency
                    has ever required a change in labeling to reflect any safety risk from talc-powder
                    Products.”
                    Products."

                    b.     "Our
                           “Our Position on Talc: At Johnson & Johnson Consumer Inc., our
                    confidence in using talc is based on a long history of safe use and more
                    than 30 years of research by independent researchers, scientific review
                    boards and global regulatory authorities. Various agencies and
                    governmental bodies have examined whether talc is a carcinogen, and
                    none have concluded that it is. With over 100
                                                               100 years of use, few ingredients
                    have the same demonstrated performance, mildness and safety profile as
                    cosmetic talc."
                              talc.”

                    c.     "We
                           “We want to assure women and caregivers who use our talc Products that
                    numerous studies support its safety, and these include assessments by
                    external experts in addition to our company testing. Many research papers
                    and epidemiology studies have specifically evaluated talc and perineal use
                    and these studies have found talc to be safe."
                                                            safe.”

            104.
            104.                                                                                Defendants’
                    At all relevant times, and thereafter to present day, the Johnson & Johnson Defendants'

            represented that talc Products are safe for personal use, including in the perineal region.

            105.
            105.    At all relevant times, the Products did not conform to these express representations

            because the Products cause serious injury, including ovarian cancer, when used by women in the

            perineal area.

            106.
            106.                                                              Defendants’ breach of
                    As a direct and proximate result of the Johnson & Johnson Defendants'

            warranty, Ms. Farmer purchased and used the Products that directly and proximately caused her

            to develop ovarian cancer. Plaintiff was caused to incur medical bills, lost wages, and conscious

            pain and suffering.




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             107.
             107.    Given the above, and given the Johnson & Johnson Defendants'
                                                                      Defendants’ extensive contacts with

             the State of Rhode Island, it is reasonable and foreseeable that the Johnson & Johnson

             Defendants would be hauled into court in the State of Rhode Island.

             108.
             108.    Wherefore, Plaintiffs demand judgment against the Johnson and Johnson Defendants in

             a fair and reasonable sum to confer jurisdiction upon this Court together with interest on that

             amount at the legal rate from the date of judgement until paid, for court costs and such further

             and other relief as the Court deems just and appropriate.

                                                      COUNT VII
                                              Breach of Implied Warranties
                                            (Johnson & Johnson Defendants)

             109.
             109.   Plaintiffs incorporate by reference all other paragraphs in this Complaint as if set forth

             fully herein.

             110.
             110.   At the time the Defendants manufactured, marketed, labeled, promoted, distributed

             and/or sold the Products, the Johnson & Johnson Defendants knew of the uses for which the

             Products were intended, including use by women in the perineal area. With this knowledge, the

             Johnson & Johnson Defendants impliedly warranted the Products to be of merchantable quality

            and safe for such use.

            111.
            111.    Defendants breached their implied warranties of the Products when Defendants sold the

             Products to Ms. Farmer because the Products were not fit for their common, ordinary and

            intended uses, including use by women in the perineal area.

            112.
            112.    Asa
                    As                                  Defendants’ breach of implied warranties, Ms. Farmer
                       a direct and proximate result of Defendants'

            purchased and used the Products that directly and proximately caused her to develop ovarian

                                     Farmer was caused to incur medical bills, lost wages, and conscious pain
            cancer. As a result, Ms. Fanner

            and suffering.




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             113.
             113.     Given the above and Defendants'
                                          Defendants’ significant contacts with the State of Rhode Island, it is

             reasonable and foreseeable that the Johnson & Johnson Defendants would be hauled into court in

             the State of Rhode Island.

             114.
             114.     Wherefore, Plaintiffs demand judgment against the Johnson & Johnson Defendants in a

             fair and reasonable sum to confer jurisdiction upon this Court together with
                                                                                     With interest on that

             amount at the legal rate from the date of judgement until paid, for court costs and such further

            and other relief as the Court deems just and appropriate.


                                                        COUNT VIII
                                                       Civil Conspiracy
                                                       (All Defendants)

            115.
            115.      Plaintiffs incorporate by reference each of the preceding paragraphs as if fully set forth

            herein.

            116.
            116.      Defendants and/or their predecessors-in-interest knowingly agreed, contrived, combined,

            confederated and conspired among themselves to cause Ms. Farmer's
                                                                     Farmer’s injuries, disease, and/or

            illnesses by exposing the Plaintiff to harmful and dangerous Products. Defendants further

            knowingly agreed, contrived, confederated and conspired to deprive the Plaintiff of the

            opportunity of informed free choice as to whether to use the Products or to expose her to said

            dangers. Defendants committed the above-described wrongs by willfully misrepresenting and

            suppressing the truth as to the risks and dangers associated with the use of and exposure to the

            Products.

            117.
            117.      In furtherance of said conspiracies, Defendants performed the following overt acts:

                      a.     For many decades, Defendants, individually, jointly, and in conspiracy with each

                             other, have been in possession of medical and scientific data, literature and test

                             reports which clearly indicated that use of their by women resulting from ordinary



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                            and foreseeable use of the Products were unreasonably dangerous, hazardous,
                                                                                             hazardous.

                            deleterious to human health, carcinogenic, and potentially deadly;

                    b.      Despite the medical and scientific data, literature, and test reports possessed by

                            and available to Defendants, Defendants individually, jointly, and in conspiracy

                            with each other, fraudulently, willfully and maliciously:

                            i.     Withheld, concealed and suppressed said medical information regarding the

                                   increased risk of ovarian cancer from Plaintiff (as set out in the "Facts"

                                   section of this pleading); In addition, on July 27, 2005 Defendants as part of

                                   the TIPTF corresponded and agreed to edit and delete portions of scientific

                                   papers being submitted on their behalf to the United States Toxicology

                                   Program in an attempt to prevent talc from being classified as a carcinogen;

                            ii.    The Defendants, through the TIPTF, instituted a "defense strategy" to

                                   defend talc at all costs. Admittedly, the Defendants through the TIPTF used

                                   their influence over the NTP Subcommittee, and the threat of litigation

                                   against the NTP to prevent the NTP from classifying talc as a carcinogen on

                                       10th RoC. According to the Defendants,
                                   its 10th                       Defendants,"...
                                                                              ". . . we believe these strategies

                                   paid-off";
                                   paid-off';

                            iii.   Caused to be released, published and disseminated medical and scientific

                                   data, literature, and test reports containing information and statements

                                   regarding the risks of ovarian cancer which Defendants knew were

                                   incorrect, incomplete, outdated, and misleading. Specifically, the

                                   Defendants through the TIPTF collectively agreed to release false

                                   information to the public regarding the safety of talc on July 1,
                                                                                                  1, 1992;
                                                                                                     1992; July 8,




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                                  1992; and November 17,
                                  1992;              17, 1994.
                                                         1994. In a letter dated September 17,
                                                                                           17,1997,
                                                                                               1997, the

                                  Defendants were criticized by their own Toxicologist consultant for

                                  releasing this false information to the public, yet nothing was done by the

                                  Defendants to correct or redact this public release of knowingly false

                                  information.

                    c.      By these false and fraudulent representations, omissions, and concealments,

                            Defendants intended to induce the Plaintiff and for the Plaintiff to rely upon said

                            false and fraudulent representations, omissions and concealments, and to continue

                            to expose herself to the dangers inherent in the use of and exposure to the

                            Products.

            118.
            118.    Ms. Farmer reasonably and in good faith relied upon the aforementioned fraudulent

            representations, omissions, and concealments made by Defendants regarding the nature of the

            Products.

            119.
            119.    Asaa direct and proximate result of the aforementioned fraudulent representations,
                    As

            omissions, and concealments made by Defendants regarding the nature of their Products and Ms.

            Farmer’s reliance thereon, Plaintiff purchased and used, as aforesaid, the Products that directly
            Farmer's

            and proximately caused her to develop ovarian cancer; and Ms. Farmer was caused to incur

            medical bills, lost wages, and conscious pain and suffering.

            120.
            120.    Wherefore, Plaintiffs demand judgment against all Defendants, each of them, in a fair

            and reasonable sum to confer jurisdiction upon this Court together with interest on that amount at

            the legal rate from the date of judgement until paid, for court costs and such further and other

            relief as the Court deems just and appropriate.

                                                      COUNT IX
                                                    Concert of Action



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                                                         (All Defendants)

             121.
             121.      Plaintiffs incorporate by reference each of the preceding paragraphs as if fully set forth

             herein.

             122.
             122.      At all relevant times, Imerys Talc, the Johnson & Johnson Defendants knew that the

             Products should contain warnings on the risk of ovarian cancer posed by women using the

                                                                    Sought to suppress such information and
            product to powder the perineal region, but purposefully sought

            omit from talc based Products so as not to negatively affect sales and maintain the profits of the

            Johnson & Johnson Defendants and Imerys Talc.

            123.
            123.       As
                       Asaa direct and proximate result of Defendants concerted action, Ms. Farmer purchased

            and used, as aforesaid, the Products that directly and proximately caused her to develop ovarian

            cancer; and she was caused to incur medical bills, lost wages, and conscious pain and suffering.

            124.
            124.       Wherefore, Plaintiffs demand judgment against all Defendants, each of them, in a fair

            and reasonable sum to confer jurisdiction upon this Court together with interest on that amount at

            the legal rate from the date of judgement until paid, for court costs and such further and other

            relief as the Court deems just and appropriate.


                                                          COUNTX
                                                          COUNT   X
                                             Fraud, Fraudulent Misrepresentation,
                                                 And Intentional Concealment
                                               (Johnson & Johnson Defendants)

            125.
            125.       Plaintiffs incorporate by reference all other paragraphs in this Complaint as if set forth

            fully herein.

            126.
            126.       At all relevant times, the Johnson & Johnson Defendants intentionally, willfully, and/or

            recklessly, with the intent to deceive, misrepresented and/or concealed material facts to

            consumers and users, including Ms. Farmer.




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             127.
             127.   At all relevant times, the Johnson & Johnson Defendants misrepresented and/or

             concealed material facts, concerning the Products, to consumers, including Ms. Farmer, with

             knowledge of the falsity of their misrepresentations.

             128.
             128.   At all relevant times, upon information and belief, the misrepresentations and

             concealments concerning the Products made by the Johnson & Johnson Defendants include, but

            are not limited to, the following:


                    a.      The Johnson & Johnson Defendants falsely labeled and advertised the Products in

                                                              “For you, use every day to help feel soft, fresh,
                            the following ways, among others: "For

                                comfortable,” "a
                            and comfortable," “a sprinkle a day keeps the odor away,"
                                                                               away,” "your
                                                                                      “your body perspires

                            in more places than just under your arms,"
                                                                arms,” "Use
                                                                       “Use SHOWER to SHOWER to feel

                                                                       day,” and "SHOWER
                            dry, fresh, and comfortable throughout the day,"     “SHOWER to SHOWER

                                                      body.”
                            can be used all over your body."

                    b.      The Johnson & Johnson Defendants falsely advertised the PRODUCT SHOWER

                                                         over,” and, in particular, urges women to use it to
                                                    “all over,"
                            to SHOWER to be applied "all

                           “Soothe Your Skin: Sprinkle on problem areas to soothe skin that has been
                           "Soothe

                            irritated from friction. Apply after a bikini wax to help reduce irritation and

                            discomfort.”
                            discomfort."

                    c.      The Johnson & Johnson Defendants, through the advertisements described above,

                            knowingly misrepresented to Ms. Farmer and the public that the Products were

                           safe for use all over the body, including the perineal areas of women.

                    d.      The Johnson & Johnson Defendants intentionally failed to disclose that talc and

                           the associated Products, when used in the perineal area, increase the risk of

                           ovarian cancer.



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                     e.       The Johnson & Johnson Defendants intentionally failed to include adequate

                              warnings with the Products regarding the potential and actual risks of using the

                              Products in the perineal area on women and the nature, scope, severity, and

                                                                         therefrom.99
                              duration of any serious injuries resulting therefrom.

                     f.      Despite knowing about the carcinogenic nature of talc and its likelihood to

                             increase the risk of ovarian cancer in women, the Johnson & Johnson Defendants

                             falsely marketed, advertised, labeled and sold the Products as safe for public

                             consumption and usage, including for use by women to powder their perineal

                             areas.

            129.
            129.     At all relevant times, the Johnson & Johnson Defendants actively, knowingly, and

            intentionally concealed and misrepresented these material facts to the consuming public with the

            intent to deceive the public, including Ms. Farmer, and with the intent that the consumers would

            purchase and use the Products in the female perineal area, and Ms. Farmer did regularly apply

            the Products to her perineal region during a number of years.

            130.
            130.    At all relevant times, the consuming public, including Ms. Farmer, would not otherwise

            have purchased the Products and/or applied the Products in the perineal area if they had been

            informed of the risks associated with the use of the Products in the perineal area.

            131.
            131.                                                                      Defendants’
                    At all relevant times, Ms. Farmer relied on the Johnson & Johnson Defendants'

            misrepresentations concerning the safety of the Products when she purchased the Products and

            used them in her perineal area, and her reliance was reasonable and justified.




            99 Household                                         Johnson’s Baby Powder, Original,
                          ProductsProducts Database, Label for Johnson's
            http://householdProductsProducts.nlm.nih.gov/cgi-bin/household/brands?tbl=brands&id=
            http                                                                                    10001040
                 ://householdProductsProducts.n I m .nih.govicgi-bin/householcUbrands?tbl=brands&id=10001040



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             132.
             132.   As a direct, foreseeable and proximate result of the Johnson & Johnson Defendants'
                                                                                           Defendants’

             fraudulent conduct, Ms. Farmer purchased and used the Products in her perineal area. As a direct

             and proximate result of such use, Plaintiff developed ovarian cancer, and she was caused to incur

             medical bills, lost wages, and conscious pain and suffering.

             133.
             133.   Given the above, and given the Johnson & Johnson Defendants'
                                                                     Defendants’ significant contacts with

             the State of Rhode Island, it is reasonable and foreseeable that the Johnson & Johnson

            Defendants would be hauled into court in the State of Rhode Island.

            134.
            134.    Wherefore, Plaintiffs demand judgment against the Johnson & Johnson Defendants in a

            fair and reasonable sum to confer jurisdiction upon this Court together with interest on that

                                                                            for court costs and such further
            amount at the legal rate from the date of judgement until paid, far

            and other relief as the Court deems just and appropriate.


                                                         COUNT XI
                                                 Negligent Misrepresentation
                                                  (Against All Defendants)

            135.
            135.    Plaintiffs incorporate by reference all other paragraphs in this Complaint as if set forth

            fully herein.

            136.
            136.    As a direct, foreseeable and proximate result of the fraudulent conduct of the Johnson &

            Johnson Defendants and Imerys Talc Ms. Farmer purchased and used the Products in her

            perineal area. As a direct and proximate result of such use, Plaintiff developed ovarian cancer,

            and she was caused to incur medical bills, lost wages, and conscious pain and suffering.

            137.
            137.    Defendants had a duty to accurately and truthfully represent to the medical and healthcare

                                                                       Products’ safety and efficacy when
            community, the public, and Ms. Farmer, the truth about the Products'

            used in the perineal area. However, the representations and/or omissions made by Defendants, in

            fact, were false.



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             138.
             138.   Defendants failed to exercise ordinary care in the representations concerning the Products

             while they were involved in their manufacture, sale, testing, quality assurance, quality control,

            and distribution in interstate commerce, because Defendants negligently misrepresented and/or

                         Products’ high risk of unreasonable, dangerous, adverse side effects.
             omitted the Products'

            139.
            139.    Defendants breached their duty in representing that the Products were safe for use in the

            perineal areas of women and/or omitting the known or knowable inherently dangerous,

            carcinogenic nature of the Products when used in the perineal area.

            140.
            140.    At all relevant times, upon information and belief, the misrepresentations, omissions and

            concealments concerning the Products made by the Defendants include, but are not limited to,

            the following:


                    a.       The Johnson & Johnson Defendants falsely labeled and advertised the Products in

                                                               “For you, use every day to help feel soft, fresh,
                             the following ways, among others: "For

                                 comfortable,” "a
                             and comfortable," “a sprinkle a day keeps the odor away," “your body perspires
                                                                                away,” "your

                             in more places than just under your arms,"
                                                                 arms,” "Use
                                                                        “Use SHOWER to SHOWER to feel

                             dry, fresh, and comfortable throughout the day,"
                                                                        day,” and "SHOWER
                                                                                  “SHOWER to SHOWER

                                                       body.”
                             can be used all over your body."

                    b.       The Johnson & Johnson Defendants falsely advertised the PRODUCT SHOWER

                                                          over,” and, in particular, urges women to use it to
                                                     “all over,"
                             to SHOWER to be applied "all
                             tu
                               Soothe Your Skin: Sprinkle on problem areas to soothe skin that has been
                             "Soothe

                             irritated from friction. Apply after a bikini wax to help reduce irritation and

                             discomfort.”
                             discomfort."




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                     c.      The Johnson & Johnson Defendants, through the advertisements described above,

                             knowingly misrepresented to Ms. Farmer and the public that the Products were

                             safe for use all over the body, including the perineal areas of women.

                    d.       The Johnson & Johnson Defendants intentionally failed to disclose that talc and

                             the associated Products, when used in the perineal area, increase the risk of

                             ovarian cancer.

                    e.       The Johnson & Johnson Defendants intentionally failed to include adequate

                             warnings with the Products regarding the potential and actual risks of using the

                             Products in the perineal area on women and the nature, scope, severity, and

                             duration of any serious injuries resulting therefrom. 10
                                                                        therefrom.10

                    f.      Despite knowing about the carcinogenic nature of talc and its likelihood to

                             increase the risk of ovarian cancer in women, the Johnson & Johnson Defendants

                            falsely marketed, advertised, labeled and sold the Products as safe for public

                            consumption and usage, including for use by women to powder their perineal

                            areas.

            141.
            141.    At all relevant times, Defendants failed to exercise reasonable care in ascertaining or

                                          die safe use of Products, failed to disclose facts indicating that the
            sharing information regarding the

            Products were inherently dangerous and carcinogenic in nature, and otherwise failed to exercise

            reasonable care in communicating the information concerning the Products to Ms. Farmer and/or

            concealed relevant facts that were known to them.




                                                               Johnson’s Baby Powder, Original,
            10 Household ProductsProducts Database, Label for Johnson's
            http://householdProductsProducts.nlm. nih.gov/cgi-bin/household/brands?tbl=brands&id=10001040
            http://householdProductsProducts.nlmmih.govicgi-bin/household/brands?tbl=brands&id=10001040



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             142.
             142.    At all relevant times, Ms. Farmer was not aware of the falsity of the foregoing

             misrepresentations, nor was she aware that material facts concerning talc and the Products had

             been concealed or omitted by Defendants. In reasonable reliance upon the Defendants'
                                                                                      Defendants’

             misrepresentations and/or omissions, Ms. Farmer was induced to and did purchase the Products

             and did use the Products on her perineal area. If the Defendants had disclosed true and accurate

             material facts concerning the risks of the use of the Products, in particular the risk of developing

            ovarian cancer from using the Products in the female perineal area, Ms. Farmer would not have

            purchased and/or received the Products and/or used the Products in that manner
                                                                                    manner.

            143.
            143.    Ms. Farmer's
                        Farmer’s reliance upon the Defendants'
                                                   Defendants’ misrepresentations and/or omissions was

            justified and reasonable because, among other reasons, those misrepresentations and/or

            omissions were made by persons and entities in a position to know the material facts concerning

            the Products and the association between the Products and the incidence of ovarian cancer, while

            Ms. Farmer was not in a position to know these material facts, and because Defendants failed to

            warn or otherwise provide notice to the consuming public as to the risks of the Products, thereby

            inducing Ms. Farmer to use the Products in lieu of safer alternatives and in ways that created

            unreasonably dangerous risks to her health. At all relevant times, the Defendants'
                                                                                   Defendants’ corporate

            officers, directors, and/or managing agents knew of and ratified the acts of the Defendants, as

            alleged herein.

            144.
            144.                                        Defendants’ conduct, Ms. Farmer has been injured
                    As a direct and proximate result of Defendants'

            and sustained severe and permanent pain, suffering, disability, impairment, loss of enjoyment of

            life, and losses of care and comfort, and economic damages.

            145.
            145.    Given the above, it is reasonable and foreseeable that the Defendants would be hauled

                 Court in the State of Rhode Island.
            into court




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             146.
             146.   Wherefore, Plaintiffs demand judgment against all Defendants in a fair and reasonable

             sum to confer jurisdiction upon this Court together with interest on that amount at the legal rate

             from the date of judgement until paid, for court costs and such further and other relief as the

             Court deems just and appropriate.

                                                        COUNT XII
                                                     Punitive Damages
                                                      (All Defendants)

            147.
            147.    Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.

            148.
            148.                                         Wantonly, recklessly, and with an evil motive in one
                    The Defendants have acted willfully, wantonly,

            or more of the following ways:

                    a.      Defendants knew of the unreasonably high risk of ovarian cancer posed by the

                            Products before manufacturing, marketing, distributing and/or selling the

                            Products, yet purposefully proceeded with such action;

                    b.      Despite their knowledge of the high risk of ovarian cancer associated with the

                            Products, Defendants affirmatively minimized this risk through marketing and

                            promotional efforts and product labeling;

                    c.      Through the actions outlined above, Defendants expressed a reckless indifference

                            to the safety of users of the Products and Ms. Farmer. Defendants' conduct, as

                            described herein, knowing the dangers and risks of the Products, yet concealing

                           and/or omitting this information, in furtherance of their conspiracy and concerted

                           action, was outrageous because of Defendants' evil motive or a reckless

                            indifference to the safety of users of the Products.




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             149.
             149.   As a direct and proximate result of the willful, wanton, reckless or evil motive evilly

             motivated and/or reckless conduct of the Defendants, Ms. Farmer have sustained damages as set

             forth above.

            150.
            150.    Wherefore, Plaintiffs demand judgment for punitive damages against all Defendants in

            a fair and reasonable amount sufficient to punish Defendants and deter them and others from

            engaging in similar conduct in the future, costs expended herein, and such further and other relief

            as the Court deems just and appropriate.


                                                      COUNT XIII
                                                   Loss of Consortium
                                                 (Against All Defendants)

            151.
            151.    Plaintiffs incorporate by reference all other paragraphs in this Complaint as if set forth

            fully herein.

            152.
            152.    At all relevant times, Ms. Farmer was married and that she continues to be married.

            153.
            153.    Before suffering the injuries described herein, Ms. Farmer was able to and did perform all

            the duties of a wife, including but not limited to providing comfort, care, affection,

            companionship, services, society, advice, guidance, counsel, and consortium to her husband.

            154.
            154.    Asa
                    As a direct and proximate result of one or more of those wrongful acts or omissions of

            the Defendants described herein, Mr. Farmer has been deprived of the comfort, care, affection,

            companionship, services, society, advice, guidance, counsel, and consortium of his spouse.

            155.
            155.    Wherefore, Plaintiffs demand judgment against all Defendants for compensatory and

                                                                     attorneys’ fees, and all such other relief as
            punitive damages, together with interest, costs of suit, attorneys'

            this Court deems proper.




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                                                          DAMAGES

             156.
             156.    Plaintiffs incorporate by reference all other paragraphs in this Complaint as if set forth

             fully herein.

             157.
             157.   Plaintiffs seek judgment in their favor against all Defendants as follows:

                             (a)    Judgment for Plaintiffs against Defendants;

                             (b)    For medical and related expenses, according to proof;

                             (c)    Pain and suffering of the Plaintiff;

                             (d)    For exemplary or punitive damages, according to proof;

                             (e)    For treble damages;

                             (0
                             (f)    Pre and post judgement interest;

                             (g)        Plaintiffs’ cost of suit herein;
                                    For Plaintiffs'

                             (h)    For disgorgement of profits, according to proof;

                             (i)
                             (0     General damages;

                             0)                              attorneys’ fees and other disbursements and
                                    Reasonable and necessary attorneys'

                                    expenses of this action; and

                             (k)    For such other and further relief as this court may deem just and proper,

                                    including prejudgment interest.


            Wherefore, Plaintiffs ask that Defendants be cited to appear and answer herein. That upon final

            trial, Plaintiffs have judgment against Defendants for actual damages, pre- and post judgment
                                                                                            post-judgment

            interest in the maximum amount allowed by law, costs of court, and any other relief to which

            Plaintiffs may be entitled.




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                          PLAINTIFFS REQUEST A TRIAL BY JURY ON ALL COUNTS




                                                                Plaintiffs Lenel
                                                                           Leriel Fanner and Christopher Farmer
                                                                    Plaintiffs7 Attorney,
                                                                By Plaintiffs'


                                                                /s/ John Deaton ______
                                                                John Deaton, Esq. (# 6537)
                                                                The Deaton Law Firm •
                                                                450 North Broadway
                                                                                 RI02914
                                                                East Providence, RI 02914
                                                                       351-6400;
                                                                (401) 351-6400.
                                                                (401) 351-6401 fax




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                                                 CERTIFICATE OF SERVICE

                                    I hereby certify that, on the 18th day of March 2019:

             [[ X] I filed and served this document through the electronic filing system ona
                                                                                         on all Defense counsel
                  Of record. The document electronically filed and served is available for viewing atid/or
                  of                                                                               and/or
                                                   Island’s Judiciary's
                        downloading from the Rhode Island'S Judiciary’s Electronic Filing SyStem.
                                                                                          System.
                                                                         /s/ Danielle Angelo
                                                                         Danielle Angelo
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          STATE OF RHODE ISLAND                                                  SUPERIOR COURT .
          PROVIDENCE, SC.                                                        CIVIL ACTION NO.: 96-9999


          IN RE ASBESTOS LITIGATION


                   COURT-COUNSEL PROTOCOL REGARDING ASBESTOS LITIGATION


                   I.       INTRODUCTION

                   Except as noted below, this Protocol shall apply to all pending and future cases in the

          Rhode Island State Court Asbestos Personal Injury Litigation 1 hereinafter ("Asbestos
                                                                                     (“Asbestos
• :
          Litigation").
          Litigation”). To the extent that the provisions of this Protocol are inconsistent with any prior

          Orders of this Court, the provisions of this Protocol shall supersede inconsistent provisions of

          prior orders.

                  This Protocol shall apply to all documents (including any exhibits or attachments to said

          documents) that parties to the Asbestos Litigation are required by Rhode Island Rules of Civil

          Procedure or any applicable Case Management Order to serve on counsel of record, except that it

          shall not apply to service of summonses and complaints, which shall continue to be served.
                                                                                             served

          pursuant to Rule 5 of the Super.R.Civ.P. In addition, nothing in this Protocol shall have any

          effect on the process by which documents are filed with the Court. The parlies
                                                                                 parties must continue to

          file all documents in paper form with the Court according to the applicable




          1        Individual Rhode Island Asbestos Litigation cases are designated as asbestos cases on the Superior Court
          Civil Case Cover Sheet.

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   Rules and Case Management Orders. This Protocol is not intended to affect the substantive

   rights of any party with respect to any document.

          II.     ELECTRONIC SERVICE

            1.
            1.     Rule 1 of the Super.R.Civ.P. provides that the rules of civil procedure "shall
                                                                                           “shall be
                   construed to secure the just, speedy and inexpensive determination of every
                   action.”
                   action."

            2.       Rule 16
                           16 of the Super.R.Civ.P. provides that the court may in its discretion direct
                     the attorney for the parties to appear before it to consider ". .... such other
                     matters as may aid in the disposition of the action. Further, Rule 5(b)(2)(D) of
                     the Super.R.Civ.P.
                         Super.R.Civ.P, (amended 2006) provides that service of pleadings and other
                     papers may be made by delivering a copy by electronic means so long as the
                     person upon whom service is being made has consented to such service in
                     writing.
                   .writing.
                   .

            3.     The Court has pending before it at any given time dozens or even hundreds of
                   active asbestos-related claims that have been assigned to the Honorable Alice B.
                   Gibney. In these cases, one (1) of three (3) law firms2 usually represents the
                   plaintiffs and there are often many of the same defendants represented by many
                   of the same defense counsel. Many of the pleadings, motions and discovery
                   served in these cases are similar or
                                                     or identical in all the cases. Each case often
                   involves the service of hundreds of such documents.

            4.     Many of the parties in all the
                                              die asbestos litigation assigned to this justice have
                   been serving motions and discovery and amended pleadings upon each other by
                   email and have found this to be a speedy and inexpensive method of service.

            5.     Accordingly, except as set forth in Paragraphs 6 and 7 all documents (including
                   exhibits or attachments to said documents) that parties to the asbestos litigation
                   are required by the Rhode Island Rules of Civil Procedure and any applicable
                   Case Management Order to serve on counsel of record, may be served
                   electronically via Lexis-Nexis File & Serve ("Lexis"),
                                                                (“Lexis”), in Portable Document
                   Formal (PDF) only, to all parties. This Protocol does not affect Rule
                   Format
                   5(b)(2)(D)(3) (amended 2006) of Super.R.Civ.P. which provides that service by
                   electronic means under Rule 5(b)(2)(D) is not effective if the party making
                           leams that the intended service did not reach the person to be served.
                   service learns
                   Any document served electronically shall be otherwise identical to its
                   appearance as filed with the Court, including the signatures of parties and
                                                             17. Electronic service shall be deemed
                   counsel except as provided in Paragraph 17.
                                                                                  leams that the
                   complete upon transmission unless the party making service learns

   2
          Early Ludwick & Sweeney, Motley Rice LLC, and The Deaton Law Firm.

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                      attempted service did not reach the person to be served. If the document served
                      electronically requires a response and none is received within the allotted time,
                      prior to any default, deemed admissions or other advefte
                                                                            advefse consequence to the
                      failure to respond to discovery or pleading, the serving party shall give notice of
                      non-response (including a copy of the earlier-served document) by e-mail and
                      by hard copy (hard copy is defined herein as first class mail, overnight delivery,
                      hand delivery or facsimile) to the non-responding party, who shall then have ten
                      (10) days from receipt of the hard copy to respond before being held in default
                      or being deemed to have admitted any matter or otherwise be subject to adverse
                      consequences from the failure to respond. Any document transmitted via email
                      shall certify in the Certificate of Service that a true and correct copy was
                      electronically served to counsel of record via email list service.

               6.     This Protocol does not affect the filing of papers with the Court and shall apply
                      only to the
                              the. service of documents. Original documents must still be filed as
              . . •   provided by Super.R.Civ.P. 5 or,any
                                                     or any other applicable provision of law.

               7.     This Protocol does not affect the manner of service of summons and complaints
                      and third-party complaints under Super.R.Civ.P. Rules 4 and 14.   14. Further, this
                      Protocol is not intended to pertain to the service of correspondence on any party
                      other than correspondence directed to thetire Court. Any party at his or her option
                      may utilize electronic service for the service of correspondence on any party. If
                      a party elects not to use electronic service for the service of correspondence
                      other than correspondence directed to the Court, he or she may utilize one or
                      more of the following methods of service: first class mail, overnight delivery,
                      express mail, hand delivery, facsimile, certified or registered mail, or email
                      outside of electronic service contemplated in this Protocol.

              8.      Except as provided in Paragraphs 6 and 7, all parties shall receive service solely
                      by electronic means. Pursuant to Rule 5 (b)(2)(D), a signed Order Authorizing
                      Electronic Service of Documents will constitute consent by all parties
                                                                                       parlies to the
                      asbestos litigation.




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         m.
         III.      PROCESS FOR ELECTRONIC SERVICE OF DOCUMENTS

          9.         LexisNexis File-&
                                  File & Serve ("Lexis")
                                                 (“Lexis”) shall make available to the Court (for the
                     limited, purpose of access to certain documents not for the purposes of filing)
                     limited
                     and to the parties in this litigation a system for providing electronic service,
                     storage and delivery of documents ("the(“the system").
                                                                  system”).

           10.
           10.       A party seeking to effectuate service of a document covered by this Protocol,
                     shall send the document to Lexis by one of following three means of delivery:

                   (a)    electronic transfer via the Internet to Lexis (the document being either a
                          eleCtrOnTe
                          scanned executed document or a scanned image of a document);

                  ••(b)
                    (b)   fax transmission; or

                   (c)
                   (c)    via ovemi t mail or U.S. mail addressed to Lexis.
                              overnight

           1.1.
         . 1,1.           cost per transaction (documents including exhibits) for service via Lexis
                     The cast
                                      (“single transaction fee")
                     shall be $13.00 ("single              fee”) if electronic transfer method is used.
                     Lexis will charge an additional fee of $.30 per page if the document is faxed or
                     mailed to Lexis for upload. Lexis shall collect the above-referenced fees in the
                     form of an invoice sent to each firm on a monthly basis.

          12.
          12.           “transaction” is: (a) the uploading/service of documents)
                     A "transaction"                                   document(s) and any related
                     exhibits and attachments to the document(s) of any aggregate length in any
                     single case; or (b) the uploading/service of document(s) and any related exhibits
                     and attachments to the document(s)
                                               documents) of any aggregate length in multiple cases.
                     A multiple case service option will be available to parties for a single
                     transaction fee, which will allow a party to add multiple captions to one single
                                                               document(s) and any related exhibits
                     transaction for the uploading/service of doctunent(s)
                     and attachments to the document(s).

          13.
          13.        Regardless of transmission method, all document service must be initiated on
                     the website by a registered user. Lexis shall then convert all documents into
                     Adobe Portable Document Format (pdf) and make them available to parties on
                                                              (“the Website").
                     an Internet website maintained by Lexis ("the   Website”).

          14.
          14.        Lexis shall post all documents to the Website according to the following
                     timetable:

                  (a)
                  (a)     Electronic documents shall be posted to the Website within one (1) hour of
                          receipt of such document from a registered user;
                          receipt

                  (b)     Faxed documents shall be posted to the Website within six (6) business
                          hours of receipt from a registered user; and


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                         (c)    Mailed paper copy documents shall be posted to the Website within
                                twenty-four (24) hours of receipt of the overnight mail package.

                   15.
                   15.    Loss of
                          Loss  ofinternet
                                   internet connectivity
                                            connectivity on
                                                          on the
                                                              the part
                                                                  part of
                                                                       of aa user
                                                                             user shall
                                                                                  shall not
                                                                                        not extend
                                                                                            extend any
                                                                                                   any service
                                                                                                       service or
                                                                                                               or
                          filing deadlines except as provided in the paragraph. For any day or partial day
                          that the
                               die Lexis system is out of service, deadlines applicable to service of
                          documents pursuant to this Protocol shall be extended by one full business day.
                          Where the occurrence of an event causes a loss of a user'suser’s internet connectivity
                          or causes an inability to access the Lexis system, that user may serve opposing
                          counsel and liaison counsel by email (outside of electronic service contemplated
                          in this Protocol) or by "hard
                                                  “hard copy"
                                                         copy” (see paragraph 5), and upload the document
                          to the Lexis system once internet connectivity is reestablished. Moreover, in the
                          event that the Lexis system service is not functioning for more than one day, a
                          party may serve opposing counsel and liaison counsel by email (outside of
                          electronic service contemplated in this Protocol) or by "hard “hard copy"
                                                                                              copy” (see
                          paragraph 5) and then through the Lexis service once such service is
                          functioning.
                          functioning..                                                          o
                                                                                                 o
                   16.
                   16.    Lexis shall maintain a "Single
                                                 “Single Case"
                                                          Case” docket for service in an individual case,
                          and an "All
                                  “All Cases Docket"
                                             Docket” (also known as "In
                                                                     “In Re: Asbestos Litigation Docket,"
                                                                                                   Docket,”
                          Docket No.: 96-9999) for documents filed on the Rhode Island Asbestos
                          Litigation Consolidated Docket. Case-specific documents shall be posted to the
                          "Single
                          “Single Case"
                                   Case” docket, not the "All
                                                         “AH Cases Docket."
                                                                   Docket.”

                   17.
                   17.    Documents posted on Lexis need not contain visual representations of the filing
                          attorneys'
                          attorneys’ signatures. Where it is not possible for the attorney to insert an
                          original signature, attorneys shall (in place of a signature and where the
                          signature would normally appear) place the following declaration: "Original
                                                                                                “Original
                                        File.” Original documents filed with the Court must contain
                          Signature on File."
                                                 confonnance with the Rhode Island Rules of Civil
                          original signatures in conformance
                          Procedure.

                   18.
                   18.    Access to the Lexis system shall be limited to registered users. Registered users
                          shall consist of Court personnel as authorized by the Justice responsible for such
                          asbestos litigation
                                    l itigation and counsel of record or their designees within their law
                                  I^exis shall provide each registered user with a username and password
                          firms. Lexis
                          to access the system. Lexis personnel shall perform all administrative functions
                          for the system, except that registered users may use the "Case
                                                                                     “Case Management"
                                                                                            Management”
                          function to adjust their mappings (i.e. add or delete registered users who receive
                          electronic notification in any given case).

                   19.
                   19.    Any document electronically served
                                                        seived pursuant to this Protocol shall be deemed
                          served as of the date and time it is transmitted to Lexis. Any document
                          transmitted to the system shall certify in the Certificate of Service that a true
                          and correct copy was electronically served to counsel of record via Lexis. A

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                  document is deemed to have been served via the Lexis system on a given date
                                                                             11:59 p.m. Eastern
                  so long as it is served via the Lexis system no later than 11:59
                  Time on such date. Documents served via the Lexis system after 11:5911:59 p.m.
                  Eastern Time on a given date will be deemed served the next business date.

          20.     Instructions for use of the Lexis system shall be posted on the Lexis Main
                  Menu, which is displayed each time a user logs onto Lexis.

          21.                                                                         (“sealed
                  Unless ordered by the Court, no documents that are filed under seal ("sealed
                  documents”) shall be served via the system. Rather, service of sealed
                  documents")
                  documents shall be made pursuant to Rule 3.3 of the Superior Court Rules o-f
                                                                                             of.
                  Procedure.

         IV. ADDITION OF NEW CASES OR NEW PARTIES TO THE SYSTEM/
             RESPONSIBILITIES OF PARTIES

         Plaintiffs’ counsel responsibilities:
         Plaintiffs'
          22.                                                          Plaintiffs’ counsel shall, within
                  For each new case filed on or after this Protocol, Plaintiffs'
                  forty-eight (48) hours of filing the complaint; (a) contact Lexis to initiate the
                  electronic case docket or initiate it directly on the system, and (b) contact Lexis
                  to map to the case docket all defendants (who have a registered user) named in
                  the case.

                 counsel responsibilities:
         Defense counsel,

          23.     Defense counsel must designate one user within their law firm
                                                                             finn who will be
                  responsible for receiving service on behalf of their defendant. It shall be
                  responsibility of each individual defense counsel/firm to map any additional
                  users whom they wish to receive service for any defendant(s)
                                                                    defendants) by utilizing the
                  Case Management functions on the Lexis system. See also Paragraph 24
                  regarding the addition of new parties. Once an additional user is mapped to a
                  defendant, that user will be automatically mapped to every existing or new case
                  in which that defendant is named.

               plaintiffs’ counsel/defense counsel responsibilities:
         Joint plaintiffs'

          24.     When a party serves a motion or pleading seeking to add new parties to a case,
                  the serving party shall, within forty-eight (48) hours of serving the motion or
                  pleading, request that Lexis map to the case docket ail
                                                                        all parties (who have a
                  registered user) sought to be added. If a party sought to be added does not have
                  a registered user, the moving party shall serve the motion pursuant to Rule 5 of
                  the Super.R.Civ.P.




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y                                                                                                                 !
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                     25.     When a new party to the asbestos litigation is named or added in a case, the
                             party seeking to name or add the new party shall serve a copy of this Protocol
                             upon the new
                                        hew party siniultaneciusly.
                                                  simultaneously. 'New
                                                                    New parties that are not added to a case by
                       . ... an. existing party, will be.provided
                                                      beprovided with a copy of this Protocol by Defendants'
                                                                                                 Defendants’ .
                             liaison counsel after counsel for such party has entered an appearance in the
                             case. All new parties shall, within twenty (20) days of receipt of service of this
                             Protocol, contact Defendants'
                                                 Defendants’ liaison counsel to provide the appropriate contact
                             information and to designate registered users to receive service on behalf of the
                             new defendant for the service. All subsequent service to that party shall be
                             made electronically in accordance with the provisions above, except as
                             otherwise stated in paragraphs 6 and 7.

                            V.    IMPLEMENTATION OF LEXIS NEXIS

                     26.    Implementation of the Lexis system shall take place forty-five (45) days within
                                Court’s execution of this Protocol.
                            the Court's


                                                                BY ORDER:


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            ENTER:                                                       2-Pt-otd-

            DATE:




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       SUBMITTED BY:
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